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                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 RODERICK HOLT,                                   )
                                                  )
           Plaintiff,                             )
                                                  )
 v.                                               )
                                                  )    Case No.: 2:17-cv-00683-JHE
 JEFFERSON COUNTY COMMITTEE FOR                   )
 ECONOMIC OPPORTUNITY,                            )
                                                  )
           Defendant.                             )

                          MEMORANDUM OPINION AND ORDER1

       Plaintiff Roderick Holt (“Holt” or “Plaintiff”) brought this action on April 27, 2017, against

Defendant Jefferson County Committee for Economic Opportunity (“JCCEO” or “Defendant”),

alleging JCCEO violated the Fair Labor Standards Act (“FLSA”) by failing to pay him overtime

compensation. (Doc. 1). JCCEO now moves for summary judgment. (Doc. 17). Holt opposes

the motion. (Doc. 21). JCCEO has filed a reply in support. (Doc. 24). JCCEO has also moved

to strike evidentiary material Holt has submitted with his response in opposition to the motion for

summary judgment, (doc. 25), which Holt opposes, (doc. 28). Both motions are fully briefed and

ripe for review. For the reasons stated more fully below, both motions are DENIED.




       1
         In accordance with the provisions of 28 U.S.C. § 636(c) and Federal Rule of Civil
Procedure 73, the parties have voluntarily consented to have a United States Magistrate Judge
conduct any and all proceedings, including trial and the entry of final judgment. (Doc. 8).
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                                        Standard of Review

       Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment is proper “if

the movant shows that there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” “Rule 56(c) mandates the entry of summary judgment, after

adequate time for discovery and upon motion, against a party who fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and on which that

party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 447 U.S. 317, 322 (1986).

The moving party bears the initial burden of proving the absence of a genuine issue of material

fact. Id. at 323. The burden then shifts to the nonmoving party, who is required to “go beyond the

pleadings” to establish that there is a “genuine issue for trial.” Id. at 324. (citation and internal

quotation marks omitted). A dispute about a material fact is genuine “if the evidence is such that

a reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986).

       The Court must construe the evidence and all reasonable inferences arising from it in the

light most favorable to the non-moving party. Adickes v. S.H. Kress & Co., 398 U.S. 144, 157

(1970); see also Anderson, 477 U.S. at 255 (all justifiable inferences must be drawn in the non-

moving party’s favor). Any factual disputes will be resolved in Plaintiff’s favor when sufficient

competent evidence supports Plaintiff’s version of the disputed facts. See Pace v. Capobianco,

283 F.3d 1275, 1276-78 (11th Cir. 2002) (a court is not required to resolve disputes in the non-

moving party’s favor when that party’s version of the events is supported by insufficient evidence).

However, “mere conclusions and unsupported factual allegations are legally insufficient to defeat

a summary judgment motion.” Ellis v. England, 432 F.3d 1321, 1326 (11th Cir. 2005) (per curiam)

(citing Bald Mtn. Park, Ltd. v. Oliver, 836 F.2d 1560, 1563 (11th Cir. 1989)). Moreover, “[a] mere
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‘scintilla’ of evidence supporting the opposing party’s position will not suffice; there must be

enough of a showing that the jury could reasonably find for that party.” Walker v. Darby, 911

F.2d 1573, 1577 (11th Cir. 1990) (citing Anderson, 477 U.S. at 252).

                                       Evidentiary Objections

       As noted above, JCCEO objects to evidence Holt relies on in opposition to its motion for

summary judgment. (Doc. 25). In addition, it objects in its reply to “self-serving statements” by

Holt describing his job duties. (Doc. 24 at 6). In his response, Holt raises an evidentiary objection

to an affidavit submitted by JCCEO. (See doc. 21 at 26-28).

       With the December 1, 2010 rules change to Rule 56 of the Federal Rules of Civil Procedure,

motions to strike submitted on summary judgment are no longer appropriate. Revised Rule

56(c)(2) provides that “[a] party may object that the material cited to support or dispute a fact

cannot be presented in a form that would be admissible in evidence.” The Advisory Committee

Notes specify as follows:

       Subdivision (c)(2) provides that a party may object that material cited to support or
       dispute a fact cannot be presented in a form that would be admissible in evidence.
       The objection functions much as an objection at trial, adjusted for the pretrial
       setting. The burden is on the proponent to show that the material is admissible as
       presented or to explain the admissible form that is anticipated. There is no need to
       make a separate motion to strike. If the case goes to trial, failure to challenge
       admissibility at the summary-judgment stage does not forfeit the right to challenge
       admissibility at trial.

FED. R. CIV. P. 56, Adv. Comm. Notes, “Subdivision (c)” (2010 Amendments). “Before this

amendment, parties properly challenged evidence used in a summary judgment motion by filing a

motion to strike. The plain meaning of these provisions show that objecting to the admissibility

of evidence supporting a summary judgment motion is now a part of summary judgment




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procedure, rather than a separate motion to be handled preliminarily.” Campbell v. Shinseki, 546

F. App’x 874, 879 (11th Cir. 2013).2

             A. JCCEO’s Motion to Strike (Doc. 25)

       JCCEO specifically objects to three related exhibits to Holt’s summary judgment response:

(1) sign in/sign out sheets filled out by Holt during his employment, (doc. 22-4); (2) a spreadsheet

summarizing those sheets, (doc. 22-5); and (3) the Declaration of Brooke Henderson and attached

chart quantifying the data from the sheets, (doc. 22-11).3 (Doc. 25 at ¶ 2). JCCEO argues there is

no way to verify the accuracy of the sheets, pointing to Holt’s deposition testimony indicating he

could not determine from the sheets how much of his time was spent working, as opposed to doing

other things. (Id. at ¶ 3). JCCEO states the sheets are not intended to be timekeeping records, do

not accurately reflect time actually worked, are unreliable on the issue of how much time Holt

actually worked, and are therefore irrelevant. (Id. at ¶¶ 4-7). In response, Holt contends the

evidence would be admissible at trial — the relevant inquiry — and should therefore be considered.

(Doc. 28).

       Under Federal Rule of Evidence 401, “evidence is relevant if: (a) it has any tendency to

make a fact more or less probable than it would be without the evidence and (b) the fact is of

consequence in determining the action.” FED. R. EVID. 401. Since the facts in this action revolve

around Holt’s allegedly uncompensated overtime, the times Holt got to work and left work are




       2
         JCCEO mistakenly argues Holt’s evidentiary objection is procedurally defective because
it was not presented in the form of a motion to strike, relying on a case that predates the 2010
amendment by twelve years. See doc. 24 at 16 (citing Givhan v. Electronic Engineers, Inc., 4 F.
Supp. 2d 1331 (M.D. Ala. 1998)).
       3
         JCCEO makes no arguments as to the admissibility of the latter two apart from the
admissibility of the sheets, so the following discussion determines the admissibility of all three
based on whether the sheets are admissible.
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relevant. Holt testified he signed in on the sheets at the beginning of the day and out at the end of

the day, not signing out for eating lunch or any other purpose in between. (Doc. 20-2 at 29 (109:4-

112:12)). Regardless of whether the sheets are a perfect record of the hours Holt spent actually

working, the sheets are probative of the hours Holt spent at work. Additionally, under the law of

this circuit, in the absence of accurate time records from JCCEO,4 Holt may provide evidence from

which a factfinder could infer the approximate hours he worked:

       [I]n situations where the employer's records cannot be trusted and the employee
       lacks documentation, the Supreme Court held “that an employee has carried out
       his burden if he proves that he has in fact performed work for which he was
       improperly compensated and if he produces sufficient evidence to show the
       amount and extent of that work as a matter of just and reasonable
       inference.” [Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 687
       (1946)]. The burden then becomes the employer’s, and it must bring forth
       either evidence of the precise amount of work performed or evidence to negate
       the reasonableness of the inference to be drawn from the employee's
       evidence. Id. at 687–88, 66 S. Ct. 1187. “If the employer fails to produce such
       evidence, the court may then award damages to the employee, even though the
       result be only approximate.” Id. at 688, 66 S. Ct. 1187.

Allen v. Bd. of Pub. Educ. for Bibb Cty., 495 F.3d 1306, 1315–16 (11th Cir. 2007). Thus, the

sheets are relevant — and admissible — to the extent they provide a basis for the inference Holt

worked overtime.

       To the extent JCCEO states the sheets are unreliable, whether the sheets are accurate or not

is an issue of weight, not admissibility. See Crompton-Richmond Co., Factors v. Briggs, 560 F.2d

1195, 1202 n.12 (5th Cir. 1977) (an argument premised on the “inaccuracy and incompleteness”




       4
         Although Holt filled out timesheets at JCCEO, he disputes the accuracy of those
timesheets, as discussed further below.

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of records is an attack on weight, not admissibility).5 Questions of evidentiary weight are not

resolved at summary judgment. Anderson, 477 U.S. at 250. JCCEO also emphasizes that the sign-

in sheets are intended as a record of who was in the building for security purposes, but the original

intent behind the sheets is simply another question of how accurate they are as a reflection of the

time Holt actually worked. Accordingly, JCCEO’s objection is OVERRULED, and its motion to

strike is DENIED.

            B. JCCEO’s Objection to Holt’s Description of Job Duties

       In addition to its motion to strike, JCCEO “objects to portions of Holt’s Statement of Facts

to the extent that they include self-serving statements about what Holt claimed he was doing in the

performance of his job,” which it contends are irrelevant and immaterial. (Doc. 24 at 6). JCCEO

does not support this objection with any authority, and in any event the court may not disregard

testimony at summary judgment simply because it is self-serving. See Feliciano v. City of Miami

Beach, 707 F.3d 1244, 1253 (11th Cir. 2013) (stating, with respect to self-serving statements by

the plaintiff, “[a]s a general principle, a plaintiff's testimony cannot be discounted on summary

judgment unless it is blatantly contradicted by the record, blatantly inconsistent, or incredible as a

matter of law, meaning that it relates to facts that could not have possibly been observed or events

that are contrary to the laws of nature.”). JCCEO’s objection to Holt’s description of his job duties

is OVERRULED.




       5
         The decisions of the former Fifth Circuit handed down before October 1, 1981, are
binding in the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir.
1981) (en banc).

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            C. Holt’s Objection to Singgellos Affidavit

         Holt contends JCCEO should be precluded from relying on the affidavit of Brenda

Singgellos (“Singgellos”), (doc. 20-1) (the “Singgellos Affidavit”), JCCEO’s current Human

Resources Director, because it did not disclose her as a witness during discovery. (Doc. 21 at 26-

28). Holt contends JCCEO’s failure to disclose Singgellos deprived him of the opportunity to take

her deposition. (Id. at 27-28). JCCEO responds that Singgellos was not included in its initial

disclosures because she had not been hired at the time, and once she became employed by JCCEO

she executed the answers to Holt’s interrogatories on behalf of JCCEO. (Doc. 24 at 3-4).

Consequently, it states Holt cannot have been surprised by Singgellos’s affidavit, nor did he lack

an opportunity to depose her. (Id. at 15).

         Federal Rule of Civil Procedure 26(a)(1)(A)(i) requires parties to disclose “the name and,

if known, the address and telephone number of each individual likely to have discoverable

information—along with the subjects of that information—that the disclosing party may use to

support its claims or defenses, unless the use would be solely for impeachment[.]” That duty does

not end after initial disclosures have been served, because each party is required to supplement its

initial disclosures “if the party learns that in some material respect the disclosure or response is

incomplete or incorrect, and if the additional or corrective information has not otherwise been

made known to the other parties during the discovery process or in writing[.]” FED. R. CIV. P.

26(e). A party who “fails to provide information or identify a witness as required by Rule 26(a)

or (e) . . . is not allowed to use that information or witness to supply evidence on a motion, at a

hearing, or at a trial, unless the failure was substantially justified or is harmless.” FED. R. CIV. P.

37(c).    The non-disclosing party bears the burden of establishing the justification for or



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harmlessness of its failure to disclose. Mitchell v. Ford Motor Co., 318 F. App'x 821, 824 (11th

Cir. 2009) (citing Leathers v. Pfizer, Inc., 233 F.R.D. 687, 697 (N.D. Ga. 2006)).

       Since Singgellos was not employed by JCCEO at the time of its initial disclosures, whether

JCCEO may rely on her affidavit turns on whether it shirked its duty to supplement its initial

disclosures under Rule 26(e). JCCEO’s discovery responses, signed by Singgellos as “Human

Resources Director of Jefferson County Committee for Economic Opportunity” and accompanied

by a certificate of service dated October 16, 2017, (doc. 22-6 at 15-16), resolve this issue.

Singgellos was not a surprise witness. Holt was on notice from the date of JCCEO’s discovery

responses that Singgellos likely possessed information about the information included in those

responses, including the duties of its employees (the substance of Singgellos’s affidavit, as

discussed further below). See Chadwick v. Bank of Am., N.A., 616 F. App’x 944, 948 (11th Cir.

2015) (no error when district court considered affidavit of defense witness not explicitly disclosed

during discovery when witness verified responses to defendant’s interrogatories).          Further,

discovery closed in this matter on February 15, 2018, four months after the date of service of the

discovery responses. (Doc. 12). Holt had ample time to depose Singgellos if he had wanted to do

so. 6 Consequently, Holt’s objection is OVERRULED, and the undersigned will consider

Singgellos’s affidavit.




       6
         Holt also requested, and was granted, permission to depose witnesses after the discovery
deadline. (Docs. 13 & 14).

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                                       Summary Judgment Facts7

        JCCEO is an organization that provides five main services in Jefferson County, Alabama:

children’s Head Start, home weatherization, adult day care, energy assistance, and financial

literacy. (Doc. 20-3 at 19 (70:1-72:6)).

              A. Holt’s Early Work at JCCEO

        Holt was initially hired by JCCEO in 2009 as a driver/janitor. (Doc. 20-2 at 6 (20:11-21)).

In that role, Holt was responsible for the janitorial issues at the JCCEO headquarters building and

drove a school bus, transporting children to and from JCCEO headquarters. (Id. at 6-7 (20:16-

21:13)). As a driver/janitor, Holt was paid $8.00 per hour. (Id. at 7 (22:22-23:1)).

        In February 2010, Holt was promoted to Assistant Transportation Manager, also an hourly

position. (Id. (23:2-5); doc. 20-3 at 24 (95:3-16)). Holt remained in that position for approximately

three years. (Doc. 20-1 at 9 (31:3-6)). As Assistant Transportation Manager, Holt reported to the

Transportation Manager. (Id. at 14 (49:8-12); doc. 20-4 at 11 (38:13-39:6)). For approximately

the last year of Holt’s time as Assistant Transportation Manager, Holt reported to Transportation

Manager Ellis Fowler, who had taken the position on a temporary basis following the previous

Transportation Manager’s demotion. (Doc. 20-2 at 10-11 (36:2-37:13); doc. 20-4 at 11 (38:13-

39:6)). Holt’s duties as Assistant Transportation Manager required him to drive a school bus or

van almost every day, covering other drivers who had called in sick or could not come in to work.

(Doc. 20-2 at 9 (31:7-32:11)).




        7
            The following facts are undisputed or, if disputed, taken in the light most favorable to
Holt.
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             B. Holt’s Promotion to Transportation Manager

       On January 21, 2016, after JCCEO posted the Transportation Manager position to be filled

on a permanent basis, Holt sent a letter to JCCEO’s Human Resources Department stating his

qualifications and interest in the position. (Doc. 20-2 at 18 (66:10-22), 61).

       On May 12, 2016, Holt was offered the Transportation Manager position. (Doc. 20-2 at

56-57). JCCEO’s offer letter states “this position is Exempt status at a salary of $28,500 annually,”

(id. at 56). At the time of the offer, Randi Clark (“Clark”), who was Human Resources Director

for JCCEO from August 2014 to October 1, 2017 (and who had prepared the offer letter), met with

Holt and explained that the position was salaried and exempt. (Doc. 20-3 at 27-28 (104:20-105:4)).

However, Holt testified he was quoted an hourly rate of $13.81 for the position, (id. at 12 (43:11-

22), 13 (47:3-48:8)). Clark also explained to Holt that the position was not eligible for overtime,

but that he could accrue “comp time,”8 which would require preapproval from his supervisor. (Id.

at 28 (106:1-22)). Holt signed the offer letter, acknowledging that the employment offer was

contingent on a background check, drug test, and completion of an I-9 form. (Doc. 20-2 at 57).

       JCCEO’s written job qualifications for Transportation Manager are:

       EDUCATION:                 AA degree in some area related to business or
                                  transportation. Must have a valid Alabama driver’s
                                  license, a CDL, experience in operating a motor
                                  vehicle, and an accident-free record for at least three
                                  years.

       EXPERIENCE:                Five years supervisory and management experience
                                  related to some aspect of transportation and/or supplies.




       8
         JCCEO characterizes comp time as a gratuitous benefit not mandated by the FLSA or any
other statute — in Clark’s words, a “perk.” (Doc. 19 at 5 n.1; doc. 20-3 at 23 (85:8-87:3)). A
JCCEO employee accrues comp time when he works more than 40 hours per week; the employee
may then convert his accumulated comp time to paid time off at an hour-for-hour rate. (Id.).
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       ABILITIES:                 Ability to work cooperatively and collaboratively with
                                  other staff members and vendors. Able to exercise
                                  discretion and sound judgment in the performance of
                                  duties.

       PERSONAL                   Sound physical and mental health. Must be able to
       ATTRIBUTES:                relate positively and professionally to staff,
                                  participants, and vendors. Must be willing to attend
                                  night meetings and/or meetings outside of regular
                                  working hours when necessary.

(Doc. 20-1 at 5). Since Holt lacked an associate’s degree, Clark told him that JCCEO would pay

for the cost of his education; following the completion of his associate’s degree, Holt would receive

a substantial salary increase. (Doc. 20-3 at 12 (41:17-42:12)).

           C. Holt’s Working Hours as Transportation Manager

       As Transportation Manager, Holt filled out timesheets on a biweekly basis. (Doc. 20-2 at

27 (103:1-11)). When he had been Assistant Transportation Manager, Holt had made several

claims for overtime by reporting additional hours on his timesheet and had been paid for those

claims. (Id. at 35 (134:16-135:23)). Holt was subsequently told that he could not ask to be paid

for overtime that had not been pre-approved and should not record unapproved overtime on his

timesheet. (Id. 35-36 (136:1-138:9)). Nevertheless, Holt continued to work overtime without pre-

approval — for example, when driving a route and the work ran long — and did not submit claims

for overtime because he had not received pre-approval. (Id. at 35 (136:7- 17)). Holt generally

indicated on his Transportation Manager timesheets that he worked eight hours per day, unless he

had worked fewer hours. (Id. at 28 (106:10-107:21)). However, Holt testified he normally worked

“maybe nine, ten” hours per day. (Id. at 28-29 (108:21-109:3)). In addition to his timesheet, Holt

kept a log of when he arrived at work and when he left work on sign-in sheets, although these




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would not necessarily account for when Holt left the building between the sign-in and sign-out

times. (Doc. 20-2 at 29 (109:4-112:12)).

       As Transportation Manager, Holt reported to John Woods (“Woods”), JCCEO’s Director

of Transportation. (Doc. 20-4 at 5 (14:3-11), 7 (22:2-13)). Woods, also a salaried employee,

would also only put eight hours on his timesheet no matter how many additional hours he worked.

(Doc. 20-4 at 14-15 (52:5-54:5)). Woods explained that he had been trained to do this by his

former supervisor. (Id. at 15 (54:6-55:10)). Woods testified he believed Holt arrived to work

every day at around 6:00 or 6:30 a.m. and would work until 3:00 or 3:30 p.m. (Id. at 8 (28:7-15)).

       The JCCEO employee handbook states: “[n]on-exempt employees will be paid overtime

at one and one-half times the regular rate for all hours worked in excess of their normal paid

hours . . . within a regular work week. Prior written approval by the supervisor and Division

Director must be obtained, as well as verification from the accounting department that funds are

available before the over-time is worked.” (Doc. 22-3 at 2). Woods was not sure of the process

an employee would use to receive overtime pay if the employee had worked more than forty hours

per week but had not obtained prior approval. (Doc. 20-4 at 31-32 (120:22-121:15)). Clark

testified employees would be paid for unapproved overtime, but it would be up to managers to

inform employees they needed approval prior to working more than forty hours per week. (Doc.

20-3 at 3 (8:11-16), 13 (45:13-47:6)). Frank Wright (“Wright”), who oversaw JCCEO’s Human

Resources Department from March 2017 until the end of May 2017, testified workers would be

paid for approved overtime; he did not know whether unapproved overtime would be paid, but

“[t]hat never happened while I was there.” (Doc. 22-2 at 4 (9:10-17), 7 (21:12-15)).

           D. Holt’s Duties as Transportation Manager

       The Transportation Manager job description consists of the following:
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RESPONSIBLE & ACCOUNTABLE TO: Superintendent                   of   Facilities and
Transportation

GENERAL DESCRIPTION: Responsible for providing supervision and guidance
for the JCCEO transportation and supply departments. Responsible for the day-to-
day operation of the JCCEO Transportation and Supply Department.

SPECIFIC RESPONSIBILITIES:

1. Maintain familiarity with all JCCEO programs, services, policies, and
    procedures.
2. Maintain familiarity with and adhere to guidelines related to all Agency
    vehicles.
3. Provide supervision and guidance to the van and bus drivers.
4. Provide periodic workshops and training to all authorized drivers of Agency
    vehicles.
5. Coordinate and ensure maintenance of all required reports and records.
6. Manage the day-to-day operation of the JCCEO Transportation Department.
7. Drive Agency vehicles when necessary, including making deliveries and pick-
    ups as required.
8. Authorize vehicle repairs.
9. Meet weekly with drivers for a status report on vehicles.
10. Inspect Agency vehicles bi-weekly.
11. Coordinate transportation with other agencies.
12. Ensure that Agency vans are kept clean and in working order.
13. Install and use perpetual inventory computer software efficiently for central
    supply.
14. Develop and maintain computerized, perpetual inventory system for central
    supply unit to record receipt and issuance of supplies.
15. Operate central supply unit daily during specified hours, distributing supplies
    to staff and assuring that documentation requirements are met.
16. Coordinate with Warehouse Manager to assure availability and tracking of
    supplies.
17. Assure that all Headquarters break and maintenance supplies are provided to
    meet staff and visitor needs.
18. Maintain, stock, and maintain inventory on all vending machines at JCCEO
    Headquarters.
19. Generate computerized, monthly inventory reports to management.
20. Manage the physical receipt of goods delivered to the JCCEO central supply
    unit.
21. Attend workshops, training sessions, classes, and/or other educational sessions
    in order to attain additional job-related skills and knowledge and improve daily
    performance.
22. Adhere to JCCEO policies and procedures.
23. Treat everyone with dignity and respect.

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       24. Model appropriate, professional behavior at all times.
       25. Perform other duties as assigned.

(Doc. 20-1 at 6-7). Additionally, the Singgellos Affidavit lists a number of responsibilities and

characteristics of the Transportation Manager position. (Doc. 20-1). Notwithstanding this, Holt

testified his duties did not change when he transitioned from Assistant Transportation Manager to

Transportation Manager.      (Doc. 20-2 at 39 (149:2-6)).       Holt did not have an Assistant

Transportation Manager during his time as Transportation Manager. (Doc. 21-1 at ¶ 7).

       JCCEO employed four to five van drivers and seven or eight bus drivers. (Doc. 20-2 at 14

(51:20-23)). Drivers split their duties between driving and janitorial work; drivers would drive

their routes at the beginning and the end of the day but would do janitorial work in between. (Doc.

20-2 at 22 (83:23-84:17); doc. 20-3 at 7 (21:1-6)). Each driver was assigned to a specific center,

and the driver would report directly to their center manager (who was responsible for evaluating

the drivers) while performing janitorial work.9 (Doc. 20-2 at 14 (52:5-21); doc. 20-3 at 6-7 (20:20-

21:13); doc. 20-4 at 4 (12:10-22)). Woods testified that drivers assigned to centers would report

to the transportation manager while on the road driving vehicles. (Doc. 20-4 at 23 (85:6-16)).

However, Holt did not supervise or guide the drivers, as stated in paragraph three of the job

description and in the Singgellos Affidavit, (see doc. 20-1 at 4); instead, his role was limited to

making sure routes were covered and vehicles were drivable, including issuing oil and other

supplies to drivers as needed. (Doc. 20-2 at 18 (68:2-14), 22-23 (84:18-85:1)). The drivers did

not check in with Holt and would come and go on their own unless they needed something from




       9
          Clark testified the evaluations were “supposed to be in conjunction” with the
Transportation Manager, although she did not know whether Holt himself had ever been involved
in evaluations. (Doc. 20-3 at 7 (21:21-22:8)). Holt himself testified he was “not at all” involved
in any driver reviews. (Doc. 20-2 at 18-19 (68:19-69:6)).
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him. (Id. at 22-23 (84:18-85:12)). Only one driver (a “floater”) was assigned to headquarters and

reported directly to Holt. (Doc. 20-2 at 23 (87:10-20); doc. 20-4 at 7 (21:5-17)). Wright testified

Holt did not have two direct reports. (Doc. 22-2 at 11 (43:17-18)).

       If a driver called in sick, Holt would try to find a replacement driver; otherwise, he would

have to drive the route for the absent driver. (Doc. 20-2 at 12 (41:1-8), 15 (53:12-55:15)). This

happened almost every day; a minimum of three days per week. (Id. at 21 (79:18-80:20); doc. 22-

1 at ¶ 3). Although Holt attempted to find replacement drivers, he had no power to require a driver

to come in and cover a shift if the driver did not want to work. (Doc. 22-1 at ¶ 11).

       In addition to driving, Holt’s duties included performing work on the vehicles, such a

changing light bulbs, fuses, and wiper blades, checking transmission fluid and oil levels, vehicle

inspections, and checking tire wear. (Doc. 20-2 at 12 (41:11-16); doc. 20-4 at 21-22 (79:21-80:2),

25 (95:22-96:11)). Maintenance staff could also perform these duties, but Holt did not generally

take advantage of them because he wanted to do the job himself. (Doc. 20-4 at 24 (89:1-90:18)).

       Holt also went to Sam’s Club to purchase items for the vending machines or issuing office

supplies, kept the vending machines stocked, went to other locations to get documents signed or

deliver documents, and picked up food from vendors. (Doc. 20-2 at 12 (42:3-14)). These were

not activities Holt would ask drivers to do. (Id. at 23 (87:21-88:22)). Holt was responsible for

getting the money out of the vending machine, counting the money, rolling the coins, and taking

the money to the bank to get dollars. (Id. at 25-26 (96:21-97:7, 100:17-19)). The money was kept

onsite and was used either to buy additional vending machine supplies or to pay for DMV reports

on new drivers. (Id. at 26-27 (99:13-101:20)).

       In her affidavit, Singgellos states the Transportation Manager has the authority to make

suggestions and recommendations as to hiring and firing. (Doc. 20-1). However, Holt did not
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have the power to hire or fire employees by himself (although no one else at JCCEO had the

authority to fire anyone by themselves, either). (Doc. 20-3 at 7-8 (24:22-25:12; doc. 22-2 at 12

(43:8-18)). Holt testified he was not involved in interviewing applicants as Transportation

Manager.10 (Doc. 20-2 at 19 (71:6-10)).

       Clark testified Holt (like any other JCCEO employee) had “[n]ot a lot” of ability to exercise

discretion and independent judgment; everything had to go through a collaborative process that

began by bringing an issue to leadership. (Doc. 20-3 at 12-13 (44:3-45:12)). Asked about Holt’s

discretionary functions, Wright could only point to “deciding . . . whether every vehicle . . . that

went on the road carrying children, other employees, staff people, whatever the case was, was

absolutely up to date on all the maintenance, all safety, all required items, all of those sorts of

things.” (Doc. 22-2 at 12 (41:4-44:23)).

       The Finance Department — not Holt — set the budget for the transportation department,

although Holt could go to his supervisor (Woods) for additional expenditures he needed to make;

Woods would then go to the Head Start director to see if there were funds in the budget for the

expenditure. (Doc. 20-4 at 11-12 (39:23-40:41:3)). If a bus had a mechanical problem, Holt would

take a new bus to the site of the breakdown and ensure the malfunctioning bus was towed to the

shop or repaired. (Doc. 20-2 at 15-16 (57:16-59:7)). Holt would decide where to send the vehicle,

but JCCEO had specific vendors it used for specific repairs. (Id. at 19-20 (72:20-73:20)). Holt

could authorize small repairs, but he would generally have to get approval from his supervisor for

repairs over about $500, and certainly above $1,000. (Id. at 16-17 (60:20-61:16), 18 (65:13-66:2)).




       10
          Clark testified that Holt was involved in conducting interviews, but could not identify an
instance in which he participated in an interview. (Doc. 20-3 at 8 (25:17-23)).
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                                               Analysis

       Holt’s complaint alleges, in a single count, that JCCEO failed to pay him overtime in

violation of the FLSA, despite the fact that he worked in excess of forty hours per week, and

misclassified him as an exempt employee. (Doc. 1 at ¶¶ 18-21). JCCEO argues it is entitled to

judgment as a matter of law because (1) Holt cannot show a willful violation of the FLSA, as he

alleges in his complaint, (doc. 19 at 11-15); (2) no evidence supports JCCEO knew of any FLSA

violations (id. at 15); and (3) Holt was properly classified as an exempt employee, (id. at 16-18).

(Doc. 19). Because the exemption issue is potentially dispositive, and because the first issue is

informed to some extent by the second, the undersigned addresses these in reverse order.

             A. FLSA Exemptions

       The FLSA exempts several categories of employees from FLSA coverage. See 29 U.S.C.

§ 213. “Whether an employee meets the criteria for an FLSA exemption, although based on the

underlying facts, is ultimately a legal question.” Pioch v. IBEX Eng’g Servs., Inc., 825 F.3d 1264,

1268 (11th Cir. 2016). The employer bears the burden of demonstrating that an exemption applies,

and exemptions are construed narrowly against the employer. Id. While position descriptions and

titles are relevant, they are not determinative; whether an employee is exempt or nonexempt

depends on the duties actually performed by the employee, and the regulations require an

examination of those specific duties. See Wagner v. Murphy Oil USA, Inc., 139 F. App’x 131, 132

(11th Cir. 2005); 5 C.F.R. § 551.202. “[E]xtend[ing] an exemption to other than those plainly and

unmistakably within its terms and spirit is to abuse the interpretative process and to frustrate the

announced will of the people.” Id. (quoting A.H. Phillips, Inc. v. Walling, 324 U.S. 490, 493

(1945)).



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       JCCEO claims Holt is exempt under the FLSA’s executive exemption and the

administrative exemption. (Id. at 16-18). Preliminarily, JCCEO’s argument the two exemptions

apply is to recite the regulatory requirements and then state, without elaboration, that its

“evidentiary submission” shows the requirements are satisfied. (Doc. 19 at 16-18). These bald

pronouncements, which JCCEO expands upon only in its reply brief (though still failing to cite to

any particular evidence within the whole of its “factual submission,” (see doc. 24 at 13)), fall short

of discharging JCCEO’s burden to show that an exemption applies. See Herring v. Sec'y, Dep't of

Corr., 397 F.3d 1338, 1342 (11th Cir. 2005) (“arguments raised for the first time in a reply brief

are not properly before a reviewing court.”). Alternatively to JCCEO’s failure to meet its burden,

though, it is not entitled to summary judgment on either exemption, as discussed below.

   1. Executive Exemption

       Although the FLSA generally requires that an employee receive overtime pay if he or she

works more than forty hours per week, it exempts “any employee employed in a bona fide

executive . . . capacity.” 29 U.S.C. §§ 207(a)(1), 213(a)(1). Under the relevant regulations, an

exempt executive employee is one:

       (1) Compensated on a salary basis pursuant to § 541.600 [. . .];

       (2) Whose primary duty is management of the enterprise in which the employee is
       employed or of a customarily recognized department or subdivision thereof;

       (3) Who customarily and regularly directs the work of two or more other employees;
       and

       (4) Who has the authority to hire or fire other employees or whose suggestions and
       recommendations as to the hiring, firing, advancement, promotion or any other
       change of status of other employees are given particular weight.

29 C.F.R. § 541.100. “Summary judgment based on the executive exemption is appropriate only

where the four prongs of the ‘executive exemption’ test are met as a matter of law.” Barreto v.

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Davie Marketplace, LLC, 331 F. App’x 672, 678 (11th Cir. 2009). The first element of the

executive exemption is not in dispute, but Holt contests JCCEO has met its burden to demonstrate

each of the three remaining elements. (Doc. 21 at 25-26).

       First, Holt states JCCEO cannot establish his primary duty was management. (Doc. 21 at

25). JCCEO’s attempt to do this is, apparently, the Singgellos Affidavit, in which Singgellos states:

“The Transportation Manager’s primary duty is management of JCCEO’s Transportation

Department.    This is the principal, main major [sic] and most important duty that the

Transportation Manager performs. The Transportation Manager spends well over 50% of his or

her time performing this primary duty, and is relatively free from direct supervision in performing

the primary duty.” (Doc. 20-1 at ¶ 11). Singgellos goes on to list a variety of these duties:

interviewing for vacant positions; training staff; directing the work of Transportation Department

employees; evaluating the work of Transportation Department employees; maintaining records

related to the operation of the Transportation Department; planning the work of Transportation

Department employees; determining the techniques used by Transportation Department

employees; apportioning work among the Transportation Department employees; determining the

type of materials, supplies, machinery and equipment to be used or merchandise to be bought,

stocked, and sold; controlling the flow and distribution of materials, merchandise and supplies;

providing for the safety and security of the Transportation Department’s employees; and

monitoring or implementing legal compliance. (Id. at ¶ 12). The problem for JCCEO is that these

are nearly word-for-word recitations of the regulations explaining an employee’s primary duty,

(compare doc. 20-1 at ¶ 11 with 29 C.F.R. § 541.700), and defining “management,” (compare doc.

20-1 at ¶ 12 with 29 C.F.R. § 541.102). These are simply legal conclusions, not facts supporting



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summary judgment, and they are inadequate to establish Holt’s primary duty was management.11

See Rodriguez v. Farm Stores Grocery, Inc., 518 F.3d 1259, 1264 (11th Cir. 2008) (“When it

comes to deciding whether an employee is an executive within the meaning of the FLSA, the

answer is in the details.”). Additionally, the claims in the Singgellos Affidavit about the work the

Transportation Manager performed as a general matter is not dispositive of the real question: the

work Holt actually performed, see Wagner, 139 F. App’x at 132.12 Even assuming these could

reasonably be considered factual descriptions of Holt’s responsibilities as his job was actually

performed, though, there are factual disputes, at a minimum, as to whether Holt spent more than

fifty percent of his time engaged in management responsibilities (as opposed to driving or stocking

vending machines) and whether he was actually responsible for such duties as interviewing.

       Holt states it is undisputed that he did not “customarily and regularly direct[] the work of

two or more other employees.” (Id. at 25). In its reply, JCCEO states (without citing any specific

evidence) Holt was responsible for supervising the drivers and shared that supervisory

responsibility with the Center Managers. (Doc. 24 at 13). As JCCEO notes, shared supervisory

responsibility can suffice for directing work. See 29 C.F.R. § 541.104(b). However, the evidence

conflicts as to whether Holt actually exercised any degree of supervision over drivers other than




       11
           JCCEO relies on Bosch v. Title Max, Inc., 2005 WL 357411, at *6 (N.D. Ala. Feb. 7,
2005) to support that the test for exemption is “the primary value the employer places on the
employee’s duties.” (Doc. 24 at 4, 16). This is not actually the test, and in any event an affidavit
copying and pasting regulatory criteria does not support, as a factual matter, what an employee’s
duties actually are.
        12
           Some of the claims in the Singgellos Affidavit clearly do not line up with Holt’s time as
Transportation Manager at all. For example, Singgellos claims “[t]he Transportation Manager
customarily and regularly directs the work of . . . the Assistant Transportation Manager,” (doc. 20-
1 at ¶ 13), but the undisputed evidence is that Holt did not have an Assistant Transportation
Manager working under him, (see doc. 21-1 at ¶ 7).
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the “floater” who reported directly to him, (doc. 20-2 at 23 (87:10-20); doc. 20-4 at 7 (21:5-17)).

Although Singgellos states, as a general matter, the Transportation Manager was responsible for

directing two or more other employees including drivers, (doc. 20-1 at ¶ 4), Holt testified the

drivers did not check in with him and would only approach him when they needed something from

him, in which case he would issue the needed supplies. (Doc. 20-2 at 18 (68:2-14), 22-23 (84:18-

85:12)). Further, Holt did not have the power to require a driver to come in if the driver did not

want to work, (doc. 22-1 at ¶ 11), and there is conflicting evidence as to whether Holt had any

degree of responsibility for evaluating the drivers. (Compare doc. 20-3 at 7 (21:21-22:8) (Clark’s

testimony that driver evaluations were “supposed to be in conjunction” with the Transportation

Manager) with (doc. 20-2 at 18-19 (68:19-69:6) (Holt’s testimony that he was not involved in

driver evaluations)). Wright explicitly testified Holt did not have two direct reports. (Doc. 22-2

at 11 (43:17-18)). Considering the evidence in the light most favorable to Holt, the evidence does

not bear out Holt’s supervisory responsibilities for two or more drivers.

       Finally, Holt states he lacked the authority to hire and fire. (Doc. 21 at 25). JCCEO

responds that “the undisputed evidentiary support for [its] Motion” shows that Holt’s suggestions

and recommendations as to hiring and firing were given particular weight, which is sufficient under

the 29 C.F.R. 541.105 even if a higher-level manager had the ultimate power to hire and fire. (Doc.

24 at 13-14). Again, JCCEO appears to rely primarily on the Singgellos Affidavit, which, again,

largely parrots the regulation. (Compare doc. 20-1 at ¶ 14 with 29 C.F.R. § 541.100). Singgellos

does venture further than the regulation by stating that the Transportation Manager frequently

makes suggestions and recommendations with respect to “hiring, firing, advancement, promotion

or other changes of status of other employees in the Transportation Department . . . and at least

annually, as part of the performance review of each employee working in the Transportation
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Department.” (Doc. 20-1 at ¶ 14). However, there is no evidence in the record to suggest Holt

ever made any recommendation at all with respect to “hiring, firing, advancement, promotion or

other changes of status,” and nor is there any evidence that Holt ever participated in an annual

performance review. To the contrary, Holt testified he was not involved in interviewing applicants,

(doc. 20-2 at 19 71:6-10)), nor in driver reviews, (id. at 18-19 (68:19-69:6)).

          Factual disputes exist as to the second, third, and fourth elements of the executive

exemption. JCCEO is not entitled to summary judgment as to its applicability.

   2. Administrative Exemption

          JCCEO also contends the administrative exemption applies to Holt. (Doc. 20 at 17-18).

Holt argues JCCEO has waived the right to argue the FLSA’s administrative exemption (which

JCCEO relies on in its motion for summary judgment, (see doc. 19 at 17-18)) applies, as the

defense was “neither pleaded nor completely disclosed in discovery.” (Doc. 21 at 26-28). Holt

says JCCEO did not include the defense in its answer or its interrogatory responses and has failed

to amend its answer or supplement its discovery responses to include the defense. (Doc. 21 at 26).

                    Waiver

          In its answer, JCCEO’s eleventh defense is that “Plaintiff was an exempt employee, per

agreement of the parties, the provisions of the FLSA and/or the applicable interpretive caselaw.”

(Doc. 5 at 4). JCCEO claims this is sufficient to invoke the administrative exemption. (Doc. 24

at 11).     However, “[u]nder Rule 8(c) of the Federal Rules of Civil Procedure, a claim

of exemption is an affirmative defense that must be specifically pled or it will be deemed waived.”

Sejour v. Steven Davis Farms, LLC, 28 F. Supp. 3d 1216, 1224 (N.D. Fla. 2014). The general

invocation of exemptions under the FLSA in JCCEO’s answer does not meet this standard. See



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id.; Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d 1314, 1318 (S.D. Fla. 2005) (a

defendant’s claim that a plaintiff is “not covered” under the FLSA is inadequate under Rule 8(c)).

       Further, when asked through Holt’s Interrogatory 1 to “[s]tate each and every legal theory

and supporting fact on which Defendant relies in asserting that Plaintiff was not entitled to

overtime pay under the FLSA, including, but not limited to, the specific exemption(s) on which

Defendant relies,” JCCEO identified only “the executive/managerial exemption, 29 U.S.C. Section

213(a)(1).” (Doc. 22-6 at 3). Although JCCEO contends its reference to the statute is sufficient

because § 213(a)(1) covers both the executive and the administrative exemptions, its response is

inconsistent with this characterization. JCCEO does not explain why it specifically listed the

executive exemption and not the administrative exemption. Additionally, the remainder of its

response discusses the requirements in 29 C.F.R. § 541.100, which is exclusively about the

executive exemption, with no mention of the administrative exemption requirements contained in

29 C.F.R. § 541.200.     (Doc. 22-6 at 3).     JCCEO’s interrogatory response does nothing to

adequately identify the administrative exemption.

       The question now becomes what to do with JCCEO’s deficient answer and failure to

supplement its discovery to include its intention to rely on the administrative exemption. The

Eleventh Circuit has stated Rule 8(c) is primarily concerned with whether the plaintiff has notice

that a defense will be raised at trial. See Hassan v. U.S. Postal Serv., 842 F.2d 260, 263 (11th Cir.

1988). Based on this, it has frequently held affirmative defenses are not waived when a plaintiff

has notice of the affirmative defense or was not prejudiced by lack of notice. See Proctor v. Fluor

Enterprises, Inc., 494 F.3d 1337, 1350 (11th Cir. 2007) (collecting cases).

       Here, two JCCEO employee witnesses testified specifically about the administrative

exemption, and Holt’s counsel questioned them extensively about it. Under questioning by Holt’s
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counsel at a January 18, 2018 deposition, Wright explained that he believed Holt met the

administrative exemption. (Doc. 22-2 at 11-12 (39:6-44:23)). Holt’s counsel explored this belief

by going through the criteria for the administrative exemption with Wright. (Id.). Later, Holt’s

counsel took Clark’s deposition and asked her specifically if she agreed with Wright’s assessment

that Holt fell into the administrative exemption. (Id. at 11 (39:21-40:9)). Holt’s counsel then

questioned Clark, in detail, about criteria relevant to the administrative exemption. (Id. at 11-13

(40:9-45:12)). Based on the facts that Holt has been on notice since at least January 18, 2018 that

the administrative exemption was relevant to this case, that JCCEO likely intended to rely upon it,

and that Holt had ample opportunity to explore the issue in discovery (which he seems to have

used), Holt has not been prejudiced by JCCEO’s failure to include the defense in its answer

pursuant to Rule 8(c), or to supplement its interrogatory response to include the defense pursuant

to Rule 26(e). Accordingly, neither Rule 8(c) nor Rule 37 bar JCCEO from raising the defense,

and the undersigned considers it below.

                   Applicability

       The FLSA exempts employees who are “employed in a bona fide . . . administrative . . .

capacity” from overtime requirements. 29 U.S.C. § 213(a)(1). Under the governing regulations,

an “employee employed in a bona fide administrative capacity” means an employee:

       (1) Compensated on a salary or fee basis pursuant to § 541.600 [. . .];

       (2) Whose primary duty is the performance of office or non-manual work directly
       related to the management or general business operations of the employer or the
       employer's customers; and

       (3) Whose primary duty includes the exercise of discretion and independent
       judgment with respect to matters of significance.

29 C.F.R. § 541.200. Like the executive exemption, the administrative exemption is concerned

with the “actual day-to-day job activities of the [employee] . . . not the labels the [employee] or
                                                    24
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the [employer] place on those duties Mutch v. PGA Tour, Inc., No. 3:04-CV-97J12TEM, 2006

WL 510068, at *4 (M.D. Fla. Mar. 2, 2006) (citing Schaefer v. Indiana Michigan Power Co., 358

F.3d 394, 400 (6th Cir. 2004); Reich v. Chicago Title Insurance Company, 853 F. Supp. 1325,

1330-31 (D. Kan. 1994)).

       As stated above, JCCEO’s motion only recites the criteria for the administrative exemption

and states it applies. (See doc. 19 at 17-18). Unlike the executive exemption, though, JCCEO

does not expand on the administrative exemption at all in its reply brief. (See doc. 24 at 14-18).

Instead, it simply argues it has not waived the exemption, and that it has “more than adequately

demonstrated the factual support for the application of the administrative exemption.” (Id. at 16).

It spends the remainder of its reply brief attacking Holt’s “self-serving claims.”13 (Id.).

       Assuming JCCEO intends the Singgellos Affidavit to supply its basis for the administrative

exemption’s application (although it never actually states it does), its argument suffers from the

same flaws as its argument for the executive exemption.           The Singgellos Affidavit spends

paragraphs mechanically reciting the regulatory criteria for the exemption, (compare doc. 20-1 at

¶¶ 5, 7-8 with 29 C.F.R. § 541.200), portions of the regulation defining what it means to be

“directly related to management or general business operations, (compare doc. 20-1 at ¶ 6 with 29

C.F.R. § 541.201(b)), and the regulation defining “discretion and independent judgment,”

(compare doc. 20-1 at ¶¶ 9-10 with 29 C.F.R. § 541.202(a) & (b)). Again, it never connects these

legal conclusions to the actual duties Holt performed. See Wagner, 139 F. App’x at 132.




       13
          As discussed above, Holt’s testimony is appropriate summary judgment evidence
regardless of whether it is self-serving. See supra, Section II.B.
                                                     25
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       This would be enough to conclude that JCCEO has not met its burden to establish the

administrative exemption applies and deny summary judgment, but there are also clear factual

issues precluding summary judgment on the exemption — especially construing the exemption

narrowly against the employer, as the court must, Pioch, 825 F.3d at 1268. Although the

Singgellos Affidavit states Holt exercised “discretion and independent judgment,” (doc. 201- at

¶ 8), the only testimony related to Holt’s discretion establishes he had little. Clark testified Holt

had “not a lot” of ability to exercise discretion, (doc. 20-3 at 12-13 (44:3-45:12)), and Wright could

only describe Holt’s discretion to keep the JCCEO fleet “up to date on all the maintenance, all

safety, all required items, all of those sorts of things,” (doc. 22-2 at 12 (41:4-44:23)). Although

Holt could authorize small repairs, his limit appears to have been a maximum of $1,000. (Doc.

20-2 at 16-17 (60:20-61:16), 18 (65:13-66:2)). This does not support Holt had the ability to

“commit the employer in matters that have significant financial impact,” 29 C.F.R. § 541.202, as

Singgellos recites, (doc. 20-1 at ¶ 10). The evidence reflects, at a minimum, a healthy factual

dispute as to the discretion Holt employed. Accordingly, JCCEO is not entitled to summary

judgment as to the administrative exemption.

           B. JCCEO’s Knowledge of FLSA Violations

       An FLSA plaintiff claiming unpaid overtime is required to show (1) he worked overtime

without compensation and (2) his employer knew or should have known of the overtime work.

Allen, 495 F.3d at 1314–15. “An employer is said to have constructive knowledge of its

employee's overtime work when it has reason to believe that its employee is working beyond his

shift.” Id. at 1319 (citing 29 C.F.R. § 785.11). When an employer’s supervisors encourage

artificially low reporting or squelch truthful reports of overtime worked, knowledge of overtime



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work may be imputed to the employer. Bailey v. TitleMax of Georgia, Inc., 776 F.3d 797, 801

(11th Cir. 2015) (citation omitted); Allen, 495 F.3d at 1319.

       JCCEO’s entire argument is a single paragraph in which it states, in conclusory fashion

and without pointing to anything specific in the record, that its “evidentiary submittal affirmatively

establishes that Holt did not report any alleged overtime work, for which he was not compensated,

and that JCCEO did not know of any such alleged overtime.” (Doc. 19 at 15). It further states “no

legitimate evidence” supports JCCEO should have known of the alleged overtime.14 (Id.).

       Taken in the light most favorable to Holt, there is evidence from which a jury could

conclude JCCEO knew of Holt’s uncompensated overtime. First, Holt’s supervisor, Woods,

testified that he believed Holt came into work at 6:00 to 6:30 a.m. and left at 3:00 to 3:30 p.m. —

at a minimum, a nine-hour workday. (Doc. 20-4 at 8 (28:7-15)). This raises a genuine issue of

material fact as to Woods’ knowledge Holt was working overtime without pay, and thus as to

JCCEO’s actual knowledge of Holt’s overtime. Second, the evidence indicates Holt’s supervisor

told him he could not ask to receive overtime pay for overtime that had not been pre-approved and

should not record overtime hours on his timesheets unless they had been preapproved. (Doc. 20-

2 at 35-36 (136:1-138:9)). A jury could conclude that this was JCCEO’s effort to discourage

reporting legitimate overtime and impute knowledge of Holt’s overtime worked to JCCEO even

without Woods’ actual knowledge.




       14
           JCCEO uses the terms “legitimate evidence” or “legitimate facts” in several portions of
its briefs. (See, e.g., doc. 19 at 15; doc. 24 at 9). To the extent this phrasing is intended to
incorporate JCCEO’s evidentiary objections, they have been overruled, as discussed above. See
supra, Sections II.A & II.B.
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       In its reply, JCCEO attempts to distinguish two cases cited by Holt (indirectly, as they are

discussed within Holt’s blockquote of Bailey, 776 F.3d at 802, (see doc. 21 at 2-23)) to support

imputed knowledge. (Doc. 24 at 8-9). In the first case, Brennan v. Gen. Motors Acceptance Corp.,

supervisors exerted “pressure” on their inferiors to understate their overtime. 482 F.2d 825, 827

(5th Cir. 1973). In the second, Allen, an employee supervisor “was aware that [the employee] was

working overtime hours” and was also “aware that [the employee] had been told that she could not

be paid overtime.” 495 F.3d at 1318. Although JCCEO states “[t]here are no legitimate facts in

this case to support the type of evidence relied upon” by the Allen and Brennan courts, as discussed

above, there is evidence that supports both the inference that Holt’s former supervisor pressured

him not to report overtime (the situation in Brennan) and that Woods was aware Holt was working

more than eight hours per day (the situation in Allen). JCCEO also cites Brumbelow v. Quality

Mills, Inc., 462 F.2d 1324 (5th Cir. 1972), to support that Holt’s deliberate underreporting of his

hours resulted in his lack of overtime pay. (Doc. 24 at 9-10). In that case, the court found no

evidence to support either that the employer required the employee to underreport hours or “in any

manner encouraged workers to falsely report.” Brumbelow, 462 F.2d at 1327. Despite JCCEO’s

contention, though, there is evidence in this case from which a jury could conclude a supervisor

discouraged Holt from reporting unapproved overtime, and thus evidence from which it could

impute knowledge to JCCEO. Accordingly, JCCEO is not entitled to summary judgment as to its

knowledge of FLSA violations.

           C. Willfulness

       JCCEO contends Holt’s complaint alleges only a willful violation of the FLSA, and the

evidence is insufficient to support a finding of willfulness. (Doc. 19 at 11-15). Holt responds that

whether there is an FLSA violation and whether the violation was willful are two independent
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questions, but regardless there is enough evidence for a reasonable jury to answer both in the

affirmative. (Doc. 21 at 18-21). In its reply, JCCEO argues an ordinary violation of the FLSA

and a willful violation of the FLSA are two separate causes of action, and Holt’s complaint

contains only the latter. (Doc. 24 at 6-7).

        It is true Holt’s complaint contains multiple references to JCCEO’s “willful” violations of

the FLSA. (See doc. 1 at ¶¶ 15-17, 19-21 (alleging JCCEO “has willfully violated the FLSA” in

various ways). But JCCEO cites no authority for its willful-or-nothing position. In fact, whether

a violation is willful or not extends the limitations period for a plaintiff’s recovery. Alvarez Perez

v. Sanford-Orlando Kennel Club, Inc., 515 F.3d 1150, 1162 (11th Cir. 2008). If a violation is

willful, a plaintiff can recover damages for violations three years prior to the date of filing; if it is

not, the violation is subject to the ordinary two-year statute of limitations. Murray v. Birmingham

Bd. of Educ., 172 F. Supp. 3d 1225, 1239 (N.D. Ala. 2016) (citing 29 U.S.C. § 255(a)). Nothing

in the case law concerning willful violations implies a plaintiff who has pleaded a willful violation

is barred from any recovery at all if he merely shows an ordinary violation within the two years

prior to when he filed his complaint.15 Further, the history of the statute does not support JCCEO’s

reading; the willful/non-willful distinction in the FLSA comes from the Portal-to-Portal Act of

1947, in which Congress created an exception to the then-existing two-year limitations period for




        15
           As stated above, this action was filed on April 27, 2017. (Doc. 1). Even absent
willfulness, JCCEO’s alleged violations of the FLSA for Holt’s work as Transportation Manager
necessarily fall after May 12, 2016, the date on which Holt was promoted, and thus within the two-
year statute of limitations. An adverse finding as to willfulness would not mean Holt’s claims are
fully time-barred.

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willful violations. See McLaughlin v. Richland Shoe Co., 486 U.S. 128, 132-33 (1988) (discussing

this development).16

       Turning to the question of whether there is sufficient evidence of willfulness in this case to

survive summary judgment, “[t]o establish that the violation of the [FLSA] was willful in order to

extend the limitations period, the employee must prove by a preponderance of the evidence that

his employer either knew that its conduct was prohibited by the statute or showed reckless

disregard about whether it was.” Alvarez Perez v. Sanford-Orlando Kennel Club, Inc., 515 F.3d

1150, 1162–63 (11th Cir. 2008) (citing McLaughlin, 486 U.S. at 133). Holt relies on “reckless

disregard,” defined as an employer’s “failure to make adequate inquiry into whether [its] conduct

is in compliance with the [FLSA].” 5 C.F.R. § 551.104. An employer’s actions are not willful if

it “acts unreasonably but not recklessly in determining its legal obligation under the FLSA.” Allen

v. Bd. of Pub. Educ., 495 F.3d 1306, 1324 (11th Cir. 2007).

       JCCEO argues its conduct here cannot willful because (1) it had an overtime policy as set

out in its employee handbook; (2) even if any employee failed to request approval for overtime,

the employee was paid for overtime if he or she actually worked it; and (3) employees completed

timesheets of their hours, and it is undisputed Holt completed and signed timesheets and was paid

for all the time he reported. (Doc. 19 at 14-15). It purports to contrast this with two cases it says

are illustrative. In Souryavong v. Lackawanna County, 872 F.3d 122 (3d Cir. 2017), the Third

Circuit affirmed a district court’s decision to grant judgment as a matter of law to an employer, in




       16
          As the Court noted in McLaughlin, the § 255 limitations period applies to multiple other
statutes — the Equal Pay Act, the Davis-Bacon Act, the Walsh-Healey Act, and the ADEA — as
well. McLaughlin, 486 U.S. at 131. It makes little sense to conclude § 255, conspicuously entitled
“Statute of Limitations,” bifurcates each of these statutes into separate causes of action.
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part due to the plaintiffs’ inability to connect an email that discussed potential labor grievances for

overtime back pay to the FLSA. It is unclear what application Souravong has to this case, because

it is undisputed that JCCEO’s employee handbook explicitly connects the issue of overtime to the

FLSA. (See doc. 22-3 at 3 (discussing overtime pay for non-exempt employees on a page entitled

“Fair Labor Standards Act (FLSA) and Compensation)). In the other case JCCEO cites, Davila v.

Menendez, 717 F.3d 1179 (11th Cir. 2013), a minimum wage case, there was evidence to support

that the employers were aware of hourly wage laws but did not investigate their compliance with

them; that they failed to keep records of the employee’s hours; that they falsified their tax returns;

that they used the employee’s immigration status against her; that they paid the employee in cash;

and that they otherwise covered up their noncompliance with minimum wage laws. JCCEO says

this type of conduct is not present in this case, (doc. 19 at 14), but it is not necessarily due summary

judgment on the issue of willfulness just because its conduct is not as egregious as another

employer’s.

       Although in an unpublished, per curiam decision, the Eleventh Circuit confronted similar

facts to this case in Gilbert v. City of Miami Gardens, 625 F. App’x 370 (11th Cir. 2015). In

Gilbert, the plaintiff was responsible for recording her own timesheets. Id. at 371. After several

years on the job, one of her supervisors informed her that the department lacked the budget for

overtime and stated she would have to seek preapproval if she needed to or was asked to work

overtime. Id. Afterwards, the plaintiff often worked overtime, but stopped recording that she was

working more than eight hours a day on her timesheets. Id. After a jury trial, the district court

granted judgment as a matter of law to an employer, finding no reasonable jury could find a willful

violation and, in the absence of willfulness, the plaintiff’s claims were time-barred. Id. at 371-72.

The Eleventh Circuit reversed. Id. at 372. It pointed to the fact that the plaintiff had worked
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overtime prior to being told to seek preapproval for overtime, but afterwards recorded exactly eight

hours of work despite the fact that her job duties required her to work longer. Id. Further, some

of the plaintiff’s coworkers saw her working hours consistent with overtime. Id. And, despite the

fact that the employer nominally allowed preapproved overtime, a jury could have believed that

the direction that the plaintiff should not submit overtime “essentially trumped the former rule.”

Id. Although the jury heard facts that undermined willfulness, the court held these facts entitled

the jury “to decide for itself whether the City willfully violated the FLSA.” Id. at 373.

       There is no evidence to support that Holt’s job duties increased such that his superiors

would have known he could not complete his work in a forty-hour week, but this case is close to

the facts of Gilbert. Although JCCEO points out that Holt was paid for overtime he actually

reported, as in Gilbert, a reasonable jury could find his supervisor’s instruction he could not report

unapproved overtime on his timesheet effectively put an end to Holt’s reports of overtime. And,

as in Gilbert, JCCEO cannot simply rely on the fact that it paid Holt for the hours he reported when

its supervisor’s direction arguably led Holt to underreport his hours. Consequently, there is

evidence in this case from which a jury could find JCCEO’s conduct was willful.

                                              Conclusion

       For the reasons stated above, JCCEO’s motion for summary judgment, (doc. 19), and

motion to strike, (doc. 25), are DENIED. The parties are encouraged to discuss alternative dispute

resolution, including the potential for mediation. The parties are ORDERED to file a joint status

report by April 1, 2019, regarding the status of such discussion and whether they believe mediation

would be beneficial to the resolution of this action.




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DONE this 18th day of March, 2019.



                                     _______________________________
                                     JOHN H. ENGLAND, III
                                     UNITED STATES MAGISTRATE JUDGE




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